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               EXHIBIT A
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                                   7                                   UNITED STATES DISTRICT COURT

                                   8                                NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                           In the Matter of the Search of Content Stored
                                  10       at Premises Controlled by Google Inc. and        Case No. 16-mc-80263-RS

                                  11       as Further Described in Attachment A
                                                                                            ORDER HOLDING GOOGLE IN CIVIL
                                  12                                                        CONTEMPT AND DENYING
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                                                                                            GOVERNMENT'S MOTION FOR
                                  13                                                        EVIDENTIARY HEARING
                                  14

                                  15                                            I. INTRODUCTION

                                  16             On August 14, 2017, this Court ordered Google to fully comply with a government search

                                  17   warrant seeking foreign-stored emails. Google has not complied and now moves to be held in civil

                                  18   contempt so that it can seek appellate review. The government agrees that Google should be held

                                  19   in contempt but also moves for an evidentiary hearing in order to determine an appropriate

                                  20   sanction to be imposed if Google’s appeal fails. For the reasons that follow, Google is found in

                                  21   civil contempt of the Court’s August 14 order and the government’s motion for an evidentiary

                                  22   hearing is denied.

                                  23                                           II. BACKGROUND1

                                  24             On June 30, 2016, the magistrate judge authorized a search warrant, under the Stored

                                  25   Communications Act (“SCA”), 18 U.S.C. § 2701 et seq., directing Google to produce stored

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                                        A more detailed explanation of the underlying facts in this case can be found in the August 14
                                  28   order (Dkt. No. 84).
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                                   1   content related to certain email accounts. Google moved to quash with respect to content stored

                                   2   outside the United States. The magistrate judge denied the motion and ordered Google to produce

                                   3   all responsive content retrievable from the United States. See Dkt. No. 46. On August 14, 2017,

                                   4   this Court affirmed the magistrate judge’s order and denied a concurrent request by the

                                   5   government to hold Google in contempt.

                                   6           On September 13, 2017, Google filed the instant motion asking the Court to: a) hold

                                   7   Google in civil contempt of the August 14 order; b) impose sanctions of $10,000 for every day

                                   8   that Google fails to comply; c) stay those sanctions until seven business days after the Ninth

                                   9   Circuit affirms the Court’s order; and d) require Google to preserve any information in its

                                  10   possession that is subject to the search warrant. The terms of the proposed sanctions are similar to

                                  11   the terms of stipulations that Google and other companies have entered into with the government

                                  12   in similar cases in other jurisdictions.2
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                                  13                                         III. LEGAL STANDARD

                                  14           Courts have both inherent and statutory power to enforce compliance with their lawful

                                  15   orders through civil contempt. California Dep't of Soc. Servs. v. Leavitt, 523 F.3d 1025, 1033 (9th

                                  16   Cir. 2008) (citing Shillitani v. United States, 384 U.S. 364, 370 (1966); 18 U.S.C. § 401. This

                                  17   power may be exercised over any person or party who “disobeys a specific and definite order of

                                  18   the court.” Gifford v. Heckler, 741 F.2d 263, 265 (9th Cir. 1984). “Intent is not an issue in civil

                                  19   contempt proceedings. The sole question is whether a party complied with the district court's

                                  20   order.” Donovan v. Mazzola, 716 F.2d 1226, 1240 (9th Cir. 1983) (internal citations omitted).

                                  21           Unlike criminal contempt, which is designed to punish, civil contempt is a remedial device

                                  22   that operates “in a prospective manner.” Shillitani, 384 U.S. 364 at 370. Civil contempt sanctions

                                  23   are employed for two purposes: (1) to coerce compliance with a court’s order; and (2) to

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                                        See, e.g., In re Search of Information Associated with [redacted]@gmail.com that is Stored at
                                  26   Premises Controlled by Google Inc., Case No. 1:16-mj-00757 (BAH) (Sep. 5, 2017 (ECF No. 36).
                                       See also In re Warrant to Search a Certain E-Mail Account Controlled & Maintained by
                                  27   Microsoft Corp., Case Nos. 13-MAG-2184; M9-150 (S.D.N.Y. Sep. 4, 2014) (ECF No. 91).

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                                   1   compensate the complainant for losses sustained. United States v. United Mine Workers of Am.,

                                   2   330 U.S. 258, 303-04 (1947); accord United States v. Bright, 596 F.3d 683, 695-96 (9th Cir.

                                   3   2010). Given their remedial purpose, civil contempt sanctions must be conditional—i.e., they only

                                   4   operate so long as the contemnor fails to comply with the court order—and generally must be no

                                   5   more than the “minimum sanction necessary to secure compliance.” Id. at 696 (citing Whittaker

                                   6   Corp. v. Execuair Corp., 953 F.2d 510, 517 (9th Cir. 1992)).

                                   7                                            IV. DISCUSSION

                                   8          The parties agree that Google should be held in contempt of the August 14 order. They

                                   9   disagree, however, about the appropriate way to devise a sanction that will ensure Google’s

                                  10   compliance and about whether an evidentiary hearing is needed to conduct that inquiry effectively.

                                  11          A. Devising an Appropriate Sanction

                                  12          When the purpose of a sanction is coercing compliance, the court must consider “the
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                                  13   character and magnitude of the harm threatened by continued contumacy, and the probable

                                  14   effectiveness of any suggested sanction.” United Mine Workers, 330 U.S. at 304. See also

                                  15   Whittaker, 953 F.2d at 516. In fixing the amount of a coercive fine, a court should consider the

                                  16   contemnor’s “financial resources and the consequent seriousness of the burden” imposed by the

                                  17   sanction. United Mine Workers, 330 U.S. at 304.

                                  18          The government argues that an evidentiary hearing is needed to assess the equities at stake

                                  19   in this case properly and to devise an appropriate sanction. Google, the government contends, has

                                  20   resisted compliance with the search warrant at every turn. It has given little weight to the

                                  21   government’s countervailing interest in stopping criminal activity. It also has offered inadequate

                                  22   assurances that all of the data subject to the search warrant has been effectively preserved. It is

                                  23   unclear, the government asserts, why Google has behaved as it has and thus it is difficult, without

                                  24   a more substantial evidentiary record, to devise a sanction that the Court can be confident will

                                  25   secure compliance.

                                  26          Google, by contrast, argues that its motives are not nearly as opaque as the government

                                  27   suggests. It has not turned over the data subject to the search warrant because it believes, based on

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                                   1   a Second Circuit decision, that it is not legally required to do so. The company is appealing the

                                   2   Court’s August 14 order to get clarity on this issue in the Ninth Circuit. It has asked to be held in

                                   3   contempt to ensure that it has standing to pursue its appeal. These actions, Google argues, are

                                   4   taken in good faith and offer no indication that Google will continue to withhold the information

                                   5   sought by the government if its appeal is unsuccessful. There is therefore no need to develop a

                                   6   more substantial evidentiary record or to devise a more severe sanction than the $10,000 per day

                                   7   fine that Google has proposed.

                                   8          Of the two sides, Google’s arguments are more persuasive. The government has an

                                   9   undeniably significant interest in stopping criminal activity and in getting access to materials

                                  10   subject to a valid search warrant. Google has an important interest, on the other hand, in obtaining

                                  11   clarity as to whether a search warrant issued under the SCA compels production of documents

                                  12   stored outside the United States.3 The government acknowledges that Google has a right to press
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                                  13   its appeal; it is not arguing that Google must turn over the information now. Neither is it

                                  14   arguing—at least at present—that Google should be held in criminal contempt for its past

                                  15   behavior. Thus, the only question currently in need of answer is what sanction will secure

                                  16   Google’s prompt compliance with the August 14 order should its appeal fail.

                                  17          As Google correctly notes, this Court already found in the August 14 order that, “[i]n light

                                  18   of the Second Circuit decision in Microsoft and the absence of relevant Ninth Circuit precedent,

                                  19   Google’s diligent, good faith efforts to comply with current law do not warrant contempt at this

                                  20   stage of the proceedings.” None of Google’s actions in the past month alters the assessment that

                                  21   Google has acted and continues to act in good faith. Accordingly, there is no reason to believe that

                                  22   the $10,000 per day sanction proposed by Google is insufficient to ensure compliance.

                                  23          It is true that at first blush $10,000 per day may seem like a small amount to a company of

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                                  25     The importance of this legal issue is evidenced by the Supreme Court’s recent grant of certiorari
                                       from the Second Circuit decision on which Google places principal reliance. See In re Warrant to
                                  26   Search a Certain E-Mail Account Controlled & Maintained by Microsoft Corp., 829 F.3d 197 (2d
                                       Cir. 2016), cert. granted sub nom. United States v. Microsoft Corp., No. 17-2, 2017 WL 2869958
                                  27   (U.S. Oct. 16, 2017).

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                                   1   Google’s resources. It is not, however, a meaningless amount. After ten days of noncompliance,

                                   2   Google would owe $100,000. After a year of noncompliance, it would owe roughly $3.6 million.

                                   3   Moreover, if Google’s appeal fails—especially if it does so because the Second Circuit’s decision

                                   4   in Microsoft is overturned by the Supreme Court—Google will be subject to similar sanctions for

                                   5   similar warrants in other districts and also inevitably will be served with additional warrants

                                   6   pursuant to the SCA. The cost to Google of refusing to comply with these warrants will quickly

                                   7   add up. Viewed in this broader context, the $10,000 per day sanction proposed by Google should

                                   8   prove sufficiently coercive; imposing a more severe sanction runs the risk of being more than the

                                   9   “minimum necessary to secure compliance.”

                                  10          B. Data Preservation

                                  11          The government’s concerns regarding Google’s preservation of data subject to the search

                                  12   warrant may or may not prove valid. It is premature, however, to address this issue. Should
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                                  13   Google prevail on appeal, the issue will be moot. If Google loses, it will be required to comply

                                  14   with the August 14 order or be subject to the sanctions imposed by this order. If, at that time,

                                  15   Google fails to turn over data the government believes Google previously possessed but did not

                                  16   preserve, the government can raise the issue and seek an appropriate remedy.

                                  17                                           V. CONCLUSION

                                  18          Google is held in contempt of this Court’s August 14, 2017 order under the following

                                  19   conditions:

                                  20      1. Google is assessed sanctions of $10,000 per day, payable to the United States, until it

                                  21          complies with the Court’s order.

                                  22      2. These civil contempt sanctions are stayed pending Google’s appeal of the Court’s August

                                  23          14, 2017 order. The sanctions shall not accrue during the pendency of the appeal. The

                                  24          sanctions shall only begin accruing seven business days after the filing of an opinion or

                                  25          memorandum decision affirming this Court’s order, if Google has already exhausted its

                                  26          appellate options and does not fully comply with this Court’s order.

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                                   1       3. During the pendency of the appeal and any related proceedings, Google shall preserve all

                                   2          information called for by the search warrant in this matter.

                                   3   The government’s motion for an evidentiary hearing is denied.4

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                                   5   IT IS SO ORDERED.

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                                   7   Dated: October 19, 2017

                                   8                                                   ______________________________________
                                                                                       RICHARD SEEBORG
                                   9                                                   United States District Judge
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                                  26     Google’s argument that the government’s motion for an evidentiary hearing should be treated as
                                       a motion for reconsideration does not merit a detailed discussion. Google’s associated request for
                                  27   attorney fees is denied.

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